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                            UNITED STATES DISTRICT CO                ED BY/ $        .Al         D.C.
                            SOUTHERN DISTRICT OF FLO                A /
                                  CASE NO. 22-MJ-8332-BER
                                                                          AUG 2 5 2022
                                                                          ANGELA E. NOBLE
                                                                         CLERK U.S. DIST. CT.
                                                                         S.D. OF FLA. - W.P.B.
   IN RE SEALED SEARCH WARRANT                             FILE          ERSEAL

   ______________ /
                       MOTION TO SEAL SUPPLEMENTAL FILING
                        AND REDACTED WARRANT AFFIDAVIT

          The United States of America moves the Court to place under seal three documents:

   (1) the United States' Sealed, Ex Parte Memorandum of Law Regarding Proposed

   Redactions; (2) Exhibit A to the Memorandum of Law, which consists of the government's

   proposed redactions to the search warrant affidavit signed and approved by the Court on

   August 5, 2022; and (3) Exhibit B to the Memorandum of Law, a chart identifying the

   government's proposed redactions as belonging to different categories of protected

   information. The government files this material in response to the Court's order issued ore

   tenus at the August 18, 2022 hearing, and reiterated in the Court's August 22, 2022 order

   (DESO). In support of the Motion, the government states:

          1.     Courts have inherent power to control access to papers filed with the courts.

   Nixon v. Warner Communications, Inc., 435 U .S. 589, 598 (1978). Courts have traditionally

   been "highly deferential to the government's determination that a given investigation

   requires secrecy and that warrant materials be kept under seal." Times Mirror Co. v. United

   States, 873 F.2d 1210 (9th Cir. 1989). Therefore, courts have routinely granted government

   requests to seal warrant materials where there is a need for secrecy. See Washington Post v.

   Robinson, 935 F.2d 282, 289 (D .C. Cir. 1991).
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          2.     The Court previously granted the government's motion to seal the search

   warrant signed on August 5, 2022, and materials associated with that warrant (DEI) . The

   documents sought to be sealed in this Motion are filed in response to the Court's order for

   the government to submit proposed redactions to the warrant affidavit and its explanations

   for those proposed redactions (DE80:13). The Memorandum of Law explains why the

   warrant affidavit should remain under seal and analyzes the non-public information

   contained in the warrant, which includes information about the identity of certain witnesses,

   the sources and methods used by the government in its investigation, and grand jury

   material protected by Rule 6(e). The accompanying proposed redactions and chart also

   contain information falling in those categories. The proposed redacted affidavit, of course,

   contains the entire contents of the presently sealed affidavit, with proposed redactions

   marked with red boxes that do not obscure the contents that the government argues should

   be kept under seal. Because all three documents reveal or discuss in extensive detail the

   contents of the warrant affidavit, the government respectfully requests that the Court seal

   these filings until it decides whether to unseal the warrant affidavit (or what portions to

   unseal).

                                         CONCLUSION

          WHEREFORE, for these reasons , the United States of America respectfully requests

   that the Court issue an Order sealing the Government's Ex Parte Memorandum of Law

   Regarding Proposed Redactions and the two Exhibits attached to that Memorandum.




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   Dated: August 25, 2022                  Respectfully submitted,




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